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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )   CRIMINAL NO. 97-0157-WS
                                                   )
ALAN ODOM,                                         )
                                                   )
       Defendant.                                  )


                                              ORDER

       This matter is before the Court on defendant Alan Odom’s Motion for Reconsideration
(doc. 236). On April 14, 2006, the undersigned entered an Order (doc. 235) explaining that
Odom’s newly-filed attempt to obtain habeas relief from his conviction and sentence under
Count Nine constituted a second or successive § 2255 petition, as to which he had failed to
satisfy the procedural prerequisites of 28 U.S.C. § 2244(b)(3). See, e.g., Washington v. United
States, 2006 WL 777676, *2 (11th Cir. Mar. 28, 2006) (“Without authorization from this Court,
then, a district court lacks jurisdiction to consider a successive § 2255 motion.”); Fugate v.
Department of Corrections, 301 F.3d 1287, 1288 (11th Cir. 2002) (similar).
       In his Motion for Reconsideration, Odom objects that the habeas claims he wishes to
present concerning Count Nine are not governed by the strictures of § 2244(b)(3) because they
relate to a different trial. Petitioner explains that there were two different trial proceedings in
this case relating to two different church burnings. The court file confirms that Judge Vollmer
severed Counts One through Five from Counts Six through Ten as to Odom, such that there were
two jury trial proceedings, one for Counts 1-5 (the “St. Joe Trial”) and the other for Counts 6-10
(the “Tate Trial”). These trials happened in immediate succession in late October and early
November 1997. According to Odom, his present § 2255 request for relief as to Count Nine is
not properly characterized as a second or successive petition, because his initial § 2255 petition
filed July 12, 2002 was confined to the St. Joe Trial while this request for relief relates
exclusively to the Tate Trial.
       The fatal defect with Odom’s attempt to sidestep the statutory restrictions on second and
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successive § 2255 petitions in this manner is that there is only one Judgment against Odom.
Specifically, on March 12, 1998, Judge Vollmer entered a Judgment (doc. 170) adjudging Odom
guilty of Counts One, Four, Five and Nine, and sentencing him to a term of imprisonment of 180
months, consisting of 41 months on Count 1, 60 months on Counts 4 and 9 (to run concurrently
with each other and with the sentence on Count 1), and 120 months on Count 5 (to run
consecutively with the sentences on the other counts). Thus, while these criminal proceedings
were severed into the St. Joe Trial and the Tate Trial, there was only one Indictment, only one
assigned criminal case number, only one sentencing hearing, and only one Judgment from which
direct appeal was taken and as to which § 2255 relief might be sought. Odom unsuccessfully
pursued § 2255 relief against that Judgment back in 2002. The undersigned is aware of no
reason why he could not have collected all of his claims for post-conviction relief for both the St.
Joe Trial and the Tate Trial (including those relating to Count Nine) in a single § 2255 petition.
Indeed, he was legally obligated to do so. Odom’s new claims as to Count Nine plainly
constitute a second attempt to attack collaterally the same underlying Judgment, and therefore
fall squarely within the strictures of § 2244(b)(3). To hold otherwise would be to ignore the
plain language of § 2244(b)(3), and would inject an exception to the “second or successive”
provisions that would undermine the clear intention of Congress as expressed in the
Antiterrorism and Effective Death Penalty Act of 1996.
       The Motion for Reconsideration (doc. 236) is denied.


       DONE and ORDERED this 1st day of May, 2006.



                                                      s/ WILLIAM H. STEELE
                                                      UNITED STATES DISTRICT JUDGE




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